                Case 2:20-cv-01093-RSL Document 12
                                                13 Filed 09/22/20
                                                         09/25/20 Page 1 of 5
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                                                                            HON. ROBERT S. LASNIK
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                               UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
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 9   KARLENE K. PETITT,                                 CASE NO. 20-cv-1093-RSL
                                          Plaintiff,
10                                                      STIPULATED MOTION AND
                                                        ORDER TO SET BRIEFING
11      v.                                              SCHEDULE AND MODIFY
12                                                      SCHEDULING ORDER
     AIR LINE PILOTS ASSOCIATION,
13                              Defendant.

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15           Plaintiff Karlene Petitt and Defendant Air Line Pilots Association (“ALPA”)
16   (collectively, the “Parties”) hereby respectfully move to establish a briefing schedule for ALPA’s
17   upcoming Motion to Dismiss the Amended Complaint and to modify the Court’s Order of
18   September 10, 2020 (Dkt. 11) (“Scheduling Order”).           The basis for this request, and the
19   requested modifications, are as follows.
20       1. This case concerns Plaintiff’s claim that ALPA breached its duty of fair representation to
21   her. Plaintiff filed her Complaint on July 13, 2020 and filed an Amended Complaint on August
22   10, 2020. ALPA agreed to waive service of a summons and complaint, and ALPA’s response to
23   the Amended Complaint is due on October 5, 2020.
24       2. Plaintiff is proceeding pro se in this case. She is a pilot for Delta Airlines, Inc. and
25   represents that she currently is in transition training to a new aircraft that will conclude in
26   approximately late October 2020. Plaintiff further represents that it will be extremely difficult for
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     STIPULATED MOTION AND ORDER
     TO SET BRIEFING SCHEDULE AND MODIFY
     SCHEDULING ORDER – Page 1
     2707-045-di21h2017b
                 Case 2:20-cv-01093-RSL Document 12
                                                 13 Filed 09/22/20
                                                          09/25/20 Page 2 of 5
                                                                             4




 1   her to actively participate in this litigation for the next six weeks due to the demands of that

 2   training.

 3       3. ALPA is planning to file a Motion to Dismiss Plaintiff’s Amended Complaint. The

 4   Parties agree that it would be inefficient and unproductive for them to proceed with initial

 5   disclosures, discovery, and discovery-related conferences in this litigation in the event that the

 6   Motion to Dismiss is granted.

 7       4. The Scheduling Order sets the following deadlines: Rule 26(f) Conference by September

 8   24, 2020; Initial Disclosures pursuant to Rule 26(a)(1) on October 1, 2020; and Combined Joint

 9   Status Report and Discovery Plan Required by Rules 26(f) and Local Rule 26(f) by October 8,

10   2020.

11       5. In these circumstances, the Parties believe that postponing the foregoing conference,

12   report, and initial disclosures until after the resolution of ALPA’s motion to dismiss will most

13   efficiently advance this litigation while minimizing costs and burdens on them. See Introduction

14   to Civil Rules of United States District Court for the Western District of Washington, at 1

15   (directing parties to consider “limiting discovery and phasing discovery and motions to bring on

16   for early resolution potentially dispositive issues”). Accordingly, the Parties respectfully request

17   that the Court order as follows: (a) the deadline for ALPA’s Motion to Dismiss be October 5,

18   2020; (b) the deadline for Plaintiff’s Opposition to ALPA’s Motion to Dismiss be November 16,

19   2020; (c) the deadline for ALPA’s Reply in support of its Motion to Dismiss be December 2,

20   2020; (d) all deadlines for the Rule 26(f) conferences and reports and Rule 26(a)(1) initial

21   disclosures be vacated; and (e) the parties be directed to confer concerning the schedule for this

22   case within 14 days of the issuance of the Court’s ruling on ALPA’s Motion to Dismiss and to

23   file a proposed, revised scheduling motion/report to the Court within seven days thereafter.

24       6. All of the Parties’ new proposed deadlines and orders are set forth in the accompanying

25   proposed order.

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     STIPULATED MOTION AND ORDER
     TO SET BRIEFING SCHEDULE AND MODIFY
     SCHEDULING ORDER – Page 2
     2707-045-di21h2017b
                Case 2:20-cv-01093-RSL Document 12
                                                13 Filed 09/22/20
                                                         09/25/20 Page 3 of 5
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 1   RESPECTFULLY SUBMITTED this 22nd day of September 2020.

 2

 3   /s/ Karlene Petitt                    /s/ Dmitri Iglitzin
 4   Karlene Petitt                        Dmitri Iglitzin, WA Bar No. 17673
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14                                         Attorneys for Defendant Air Line Pilots Association
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     STIPULATED MOTION AND ORDER
     TO SET BRIEFING SCHEDULE AND MODIFY
     SCHEDULING ORDER – Page 3
     2707-045-di21h2017b
                  Case 2:20-cv-01093-RSL Document 12
                                                  13 Filed 09/22/20
                                                           09/25/20 Page 4 of 5
                                                                              4




 1                                                 ORDER

 2           Based upon the above stipulation of the parties, and for good cause shown by the parties,

 3   the Court hereby amends the Scheduling Order (Dkt. 11) as follows:

 4            D       Deadline for Defendant’s Motion to Dismiss                October 5, 2020
 5
              E       Deadline for Plaintiff’s Opposition toDefendant’s
 6                    Motion to Dismiss                                         1ovember 16, 2020

 7            F       Deadline for Defendant’s Reply                            'HFHPEHU
                      0RWLRQ1RWHGRQWKH&RXUW V0RWLRQ&DOHQGDU              'HFHPEHU
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             (G) All deadlines for the Rule 26(f) conferences and reports and Rule 26(a)(1) initial
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             disclosures are hereby vacated; and
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             (e) The parties are directed to confer concerning the schedule for this case within 14 days
12
             of the issuance of the Court’s ruling on Defendant’s Motion to Dismiss and to file a
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             proposed, revised scheduling motion/report to the Court within seven days thereafter.
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                                  WK day of 6HSWHPEHU,
                      Dated this ______        HSWHPEHU, 2020.
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                                                   HON. ROBERT S. LASNIK
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     STIPULATED MOTION AND ORDER
     TO SET BRIEFING SCHEDULE AND MODIFY
     SCHEDULING ORDER – Page 4
     2707-045-di21h2017b
